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                                 THE UNITED STATES DISTRICT COURT
                                         DISTRICT OF UTAH


                                                                                     SEALED
     OL PRIVATE COUNSEL, LLC,
                                                                   MEMORANDUM DECISION AND
                              Plaintiff,                                    ORDER
                                                                   • DENYING [373] DEFENDANT’S
     v.                                                              MOTION TO EXCLUDE
                                                                   • GRANTING [368] DEFENDANT’S
     EPHRAIM OLSON,                                                  MOTION FOR SUMMARY
                                                                     JUDGMENT
                              Defendant.                           • DENYING [372] PLAINTIFF’S
                                                                     MOTION FOR SUMMARY
                                                                     JUDGMENT

                                                                              Case No. 2:21-cv-455

                                                                          District Judge David Barlow

                                                                     Magistrate Judge Daphne A. Oberg




          This is one of many lawsuits in various courts involving various members of the Olson

 family, an Olson domestic law firm, two Olson international law-related entities, and numerous

 Olson trusts. This particular dispute arises from Ephraim Olson (“Ephraim”), 1 a former

 employee of OL Private Counsel, LLC (“OLPC”), allegedly wrongfully accessing and sharing

 documents (the “Confidential Documents”) in the possession of OLPC, his father Thomas

 Olson’s law firm. OLPC has brought claims against Ephraim for conversion, breach of contract,

 intentional interference with economic relations, breach of fiduciary duty, conspiracy under the


 1
   Because of the identical last names of many of the individuals involved in this dispute, the court refers to these
 individuals by their first names. No disrespect is intended by this informality.

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 Computer Fraud and Abuse Act (the “CFAA”), and aiding and abetting conversion. 2 Ephraim

 now moves for summary judgment on each of OLPC’s claims. 3 OLPC has moved for partial

 summary judgment as to liability on its conversion claim. 4 Also before the court is Ephraim’s

 Motion for Mandatory Exclusion of Untimely Produced Damages Documents and for

 Sanctions. 5 Ephraim seeks to have the court exclude evidence of OLPC’s damages because

 documents supporting its damages claim were not timely produced. 6

         For the reasons stated below, Ephraim’s motion to exclude is denied, his motion for

 summary judgment is granted, and OLPC’s motion for summary judgment is denied.

                                           BACKGROUND

 I.      Fact Background

         Thomas Olson (“Thomas”) and Carolyn Olson (“Carolyn”) were married in 1980. 7

 During Thomas and Carolyn’s marriage, Thomas worked as a tax attorney and set up several

 trusts, corporations, partnerships, and other structures to preserve his and Carolyn’s assets. 8

 These assets are alleged to include homes in the United States, Canada, and Thailand, as well as

 several trusts that benefited Thomas, Carolyn, and their children. 9 Thomas filed for divorce from

 Carolyn in Utah state court on August 7, 2020. 10 Carolyn contends that assets acquired during




 2
   First Amended Complaint, ECF No. 153-1, filed June 20, 2023.
 3
   Motion for Summary Judgment (“Def. MSJ”), ECF No. 368, filed Jan. 31, 2025.
 4
   Motion for Partial Summary Judgment (“Pl. MSJ”), ECF No. 372, filed Jan. 31, 2025.
 5
   Renewed Rule 37(c) Motion for Mandatory Exclusion of Untimely Produced Damages Documents and for
 Sanctions (“Ex Mot.”), ECF No. 373, filed Jan. 31, 2025.
 6
   Id.
 7
   Affidavit of Carolyn Olson ¶ 4, ECF No. 386-13, filed Jan. 31, 2025.
 8
   Id. at ¶ 13.
 9
   Id. at ¶ 20.
 10
    204904555, Olson v. Olson Divorce Docket, ECF No. 393-26, filed Mar. 21, 2025.

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 her and Thomas’s marriage, including assets held in trusts to which Carolyn and her children

 were beneficiaries, may have been transferred to entities outside her control. 11

          OLPC, a Utah-based law firm, is one of the entities Thomas owns. 12 OLPC works with

 other entities, including OL Private Corporate Counsel International, Ltd. (“OLPCCI”) and

 International Tax Counsel Ltd. (“ITC”). 13 These entities operate in several different countries,

 including the United States, Canada, and Thailand. 14 Ephraim, one of Thomas and Carolyn’s

 sons, is an attorney who worked for OLPC from July 2014 to September 2019. 15 While working

 for OLPC, Ephraim had access to the OLPCCIL server, which stored OLPC’s documents. 16

          Tim Akarapanich (“Tim”) was employed by one of the entities controlled by Thomas in

 Thailand. 17 Tim and Ephraim met when Ephraim traveled to Thailand as part of his work for

 OLPC. 18 The two worked together on OLPC matters and met in person several times. 19 Tim

 resigned from his work for OLPC on May 14, 2020. 20

          On June 8, 2020, Tim and Ephraim sent each other messages through Facebook

 discussing Tim’s decision to leave OLPC. 21 Then, on June 12, 2020, Tim messaged Ephraim




 11
    Affidavit of Carolyn Olson ¶ 14, ¶ 34, ECF No. 386-13, filed Jan. 31, 2025.
 12
    30(b)(6) Deposition of OL Private Counsel through Thomas Olson 10:5–7 (“2023 OLPC Dep.”) 8:1–3, ECF No.
 412-3, filed May 2, 2025 (Thomas states “I am the owner of OLPC”).
 13
    2023 OLPC Dep. 35:10–21.
 14
    Id at 9:7–9 (stating that OLPC is a Utah entity); 171:11–12 (discussing Canadian clients); 13:25–14:2 (discussing
 OLPC in Thailand).
 15
    Ephraim Olson Resume, ECF No. 375-2, filed Jan. 31, 2025.
 16
    2023 OLPC Dep. 64:23–25 (“Ephraim would have had access to most of the server, perhaps all the server”).
 17
    Deposition of Ephraim Olson (“Ephraim Dep.”) 168:10–17, ECF No. 372-1, filed Jan. 31, 2025; Resignation
 Letter, ECF No. 372-4, filed Jan. 31, 2025. OLPC states that Tim worked for ITC. See Pl. MSJ 3.
 18
    Ephraim Dep. 167:1–8.
 19
    Id. at. 168:1–9; 169:11–20.
 20
    Resignation Letter, ECF No. 372-4, filed Jan. 31, 2025.
 21
    Cloud Facebook Messenger Messages between Ephraim Olson and Timothy Akarapanich, ECF No. 372-5, filed
 Jan. 31, 2025.

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 saying “[I] want to help you [E]phraim please let me know.” 22 Ephraim asked if Tim had any

 documents about “any” trusts. 23 Tim let Ephraim know that his phone had “somehow got old

 mails before [I] left the firm” and that he did not think anyone at OLPC knew he had access to

 his emails. 24 Ephraim told Tim that he “might want to back those up” to another computer “so

 that if they [] wipe your phone, you don’t lose them.” 25

         Later in their messages, Ephraim sent a message to Tim asking “do you have the trust doc

 for Ruth Doxey Trust or White Buffalp [sic] trust?” 26 Tim responded that he had the documents,

 then sent two files to Ephraim. 27 A few hours later, Ephraim asked Tim “Do you have the

 Carolyn Olson Spousal trust?” and Tim sent him another file. 28 Throughout their messages,

 Ephraim offered to write Tim a recommendation letter to send to future employers and asked if

 Tim may want a job at a law firm Ephraim planned on starting in the future. 29

         On June 22, 2020, Carolyn contacted Tim through the messaging app Telegram. 30 She

 introduced herself as Ephraim’s mom and asked Tim if “there is any way for me to get the trust

 documents for White Buffalo and Majestic Trusts?” 31 Tim responds that “I think I have white

 buffalo for sure let me look for majestic.” 32 Tim then sent Carolyn a file called “White Buffalo

 Trust” and a file called “(Edited) Summary of Trust.” 33 Tim informed Carolyn that he thought


 22
    Declaration of Timothy Akarapanich (“Tim A. Decl.”) June 12, 2020, Messages, page 5–9 of 110, ECF No. 372-6,
 filed Jan. 31, 2025.
 23
    Id. at 6 of 110.
 24
    Id. at 12 of 110.
 25
    Id.
 26
    Id. at 18 of 110.
 27
    Id. at 19–20 of 110.
 28
    Id. at 25 of 110.
 29
    Id. at 23 of 110; 25 of 110.
 30
    Id. at 67 of 110.
 31
    Id.
 32
    Id.
 33
    Id. at 68 of 110.

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 “majestic is gone” but that the Olson Estate Trust is “worth a lot.” 34 Carolyn then asked Tim to

 send her those documents and “any trust documents that you think might be important for me.” 35

 Tim responded by sending her eight additional documents, including documents titled “The Ruth

 Doxey Family Trust,” “The Waterton Land Trust,” and “The Carolyn Olson Spousal Trust.” 36

 Carolyn then shared these documents with her lawyers. 37

         OLPC alleges that the documents Tim shared with Ephraim and Carolyn (the

 “Confidential Documents”) have been used in three separate cases in both Canada and the United

 States. 38 First, OLPC alleges that Carolyn used the Confidential Documents in a proceeding

 against Thomas before the Court of Queen’s Bench of Alberta, which issued an order prohibiting

 Thomas from transferring or disposing of any interests in the disputed trusts and other property

 (the “Mareva Injunction”). 39 Second, OLPC alleges that the documents have been used by

 Naomi W. Burton (“Naomi”), one of Thomas and Carolyn’s daughters, who has brought claims

 in Utah state court against Bruce Lemons (“Bruce”), the alleged Trustee and Settlor of the

 Waterton Land Trust, for breach of fiduciary duty (the “Lemons Litigation”). 40 Third, OLPC

 claims that the documents were used in a dispute between Carolyn, Naomi, and other members

 of the Olson family regarding actions taken concerning the Waterton Land Trust and other assets




 34
    Id. at 68–69 of 110.
 35
    Id. at 69 of 110.
 36
    Id. at 69–70 of 110.
 37
    Questioning of Carolyn Ruth Walker Olson, ECF No. 375-9, filed Jan. 31, 2025, 125:26–27; 126:1–2 (Carolyn
 states that Tim “contacted Ephraim. Ephraim gave me their contact information, and I contacted that person, and
 they shared the documents I shared with my lawyer.”)
 38
    First Amended Complaint, ECF No. 153-1, filed June 20, 2023; OL Private Counsel, LLC’s Opposition to Motion
 for Summary Judgment (“Pl. MSJ Opp.”) ¶ 19, ECF No. 397, filed Mar. 21, 2025.
 39
    Mareva Injunction/Attachment Order, ECF No. 368-12, filed Jan. 31, 2025 (order dated Nov. 23, 2020).
 40
    First Amended Complaint in Burton v. Lemons ¶ 3, ¶ 8, ¶ 10, ECF No. 368-22, filed Jan. 31, 2025 (complaint
 dated April 14, 2022).

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 (the “Waterton Trust Litigation”) (collectively the “Third-Party Litigation”). 41 That case has been

 brought against Thomas, Bruce, and two of Thomas and Carolyn’s children, Joshua Olson

 (“Joshua”) and Hyrum Olson (“Hyrum”), among other defendants. 42 OLPC itself is not a party to

 any of the Third-Party Litigation, but alleges that its clients including Thomas, Bruce, Joshua,

 Hyrum, and various trusts are parties to these cases.

         OLPC brought claims against Ephraim in Utah state court on March 12, 2021, alleging

 conversion, breach of contract, intentional interference with economic relations, breach of

 fiduciary duty, and aiding and abetting conversion. 43 OLPC later added a seventh cause of action

 for conspiracy under the Computer Fraud and Abuse Act, and Ephraim removed the case to this

 court based on this additional federal claim. 44

 II.     Damages Background

 On April 14, 2021, OLPC served its initial disclosures, which stated that

         OL Private Counsel seeks money damages in an amount to be determined at trial,
         including all reasonable and foreseeable damages that could have been avoided if
         Defendant Ephraim Olson had not engaged in the wrongdoing described in the
         complaint. OL Private Counsel’s damages consist of harm to its goodwill, loss of
         clients, and loss of its confidential information. OL Private Counsel also seeks
         punitive damages for Defendant’s conversion, intentional interference with
         contractual relations, breach of fiduciary duty, and aiding and abetting conversion.
         OL Private Counsel reserves its right to assert and/or seek damages from
         Defendant or non-parties as the facts of the case develop and the case proceeds. 45




 41
    Pl. MSJ Opp. 9; see also Affidavit of Naomi Burton, ECF No. 378-4, filed Jan. 31, 2024.
 42
    Id. at 1.
 43
    State Court Filings, Complaint and Jury Demand, ECF No. 2-2, filed July 27, 2021.
 44
    Id. at 46 of 89; Notice of Removal, ECF No. 2, filed July 27, 2021.
 45
    Ol Private Counsel, LLC’s Initial Disclosures 4, ECF No. 373-1, filed Jan. 31, 2025.

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 OLPC supplemented its initial disclosures on August 25, 2021, 46 and again on September 22,

 2022. 47 However, it did not provide a computation of damages in either supplement or provide

 further specificity on the amount of damages it sought in either supplemental disclosure.

         Ephraim deposed OLPC through Thomas Olson (“Thomas”) on February 15, 2023. 48 In

 this deposition, Thomas stated that OLPC’s damages would include the costs of litigating cases

 involving the Confidential Documents because Thomas himself is a client of OLPC (the law firm

 that he owns) that has “suffered as a result of the impairment.” 49 Thomas stated that OLPC

 would need to pay the legal fees of anybody “who was required to work to solve the problems

 caused by the disclosure.” 50 Thomas identified the Mareva Injunction, his and Carolyn’s divorce,

 and other lawsuits in Canada as the cases for which OLPC will need to pay attorney fees. 51 He

 also stated that he could not quantify these damages and did not know when OLPC would be

 able to offer a damages calculation. 52

         After several extensions of the discovery period, fact discovery was set to close on April

 1, 2024. 53 On March 29, 2024, OLPC produced invoices from the law firm Foley Lardner (the

 “Foley Invoices”). 54 These invoices are apparently charges for work in the Burton v. Lemons

 action taken between October 17, 2022, and October 24, 2023. 55 Then, on April 1, 2024, OLPC

 produced invoices from the law firms Peacock Linder (“Peacock Linder Invoices”) and Borden,



 46
    Ol Priavte Counsel, LLC’s Initial Disclosures 4, ECF No. 386-5, filed Jan. 31, 2025.
 47
    Plaintiff OL Private Counsel, LLC’s Supplemental Initial Disclosures, ECF No. 368-6, filed Jan. 31, 2025.
 48
    30(b)(6) Deposition of Ol Private Counsel, LLC through Thomas Olson, ECF No. 388-12, filed Feb. 28, 2025.
 49
    Id. at 166:16–25; 166:16–25; 168:5–24.
 50
    Id. at 164:14–22.
 51
    Id. at 166:16–25; 168:5–24.
 52
    Id. at 173:20–25; 174:1–3.
 53
    Twelfth Amended Scheduling Order 1, ECF No. 248, filed Jan. 31, 2024.
 54
    Foley Invoices, ECF No. 373-2, filed Jan. 31, 2025.
 55
    Id.

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 Ladner, Gervais (“BLG Invoices”). 56 The Peacock Linder Invoices are for Thomas’s “Trust and

 Matrimonial Issues.” 57 The BLG Invoices are for “Trust Litigation” and are charged to Hyrum

 and the Waterton Land Trust. These invoices are dated between September 21, 2023, and March

 5, 2024. 58

         On May 1, 2024, OLPC disclosed Rick S. Hoffman (“Mr. Hoffman”) as its expert for

 “calculating economic harm related to commercial litigation.” 59 Mr. Hoffman’s report offers the

 opinion that Ephraim’s conduct caused OLPC to incur $456,040 in damages. 60 Mr. Hoffman

 arrived at this figure by adding the total amounts of the Foley, Peacock Linder, and BLG

 Invoices. 61

         On September 9, 2024, Ephraim moved to exclude several documents, including the

 invoices, as untimely produced and requested sanctions. 62 Magistrate Judge Oberg denied

 Ephraim’s motion, finding that neither exclusion nor other sanctions were warranted for any of

 the documents at issue (the “Exclusion Order”). 63 The magistrate judge found that Ephraim made

 misleading arguments in his motion, as many of the documents he alleged he was missing had in

 fact been produced. 64 However, the magistrate judge held that OLPC’s disclosure of the legal




 56
    Peacock Linder Invoices, ECF No. 373-3, filed Jan. 31, 2025; BLG Invoices, ECF No. 373-4, filed Jan. 31, 2025.
 57
    Peacock Linder Invoices, ECF No. 373-3, filed Jan. 31, 2025.
 58
    BLG Invoices, ECF No. 373-4, filed Jan. 31, 2025.
 59
    Ol Private Counsel, LLC’s Expert Disclosures 2, ECF No. 276, filed May 1, 2024.
 60
    Expert Witness Report Submitted by Richard S. Hoffman (“Hoffman Rep.”), ECF No. 308-17, filed Sep. 9, 2024.
 61
    Id. at 6.
 62
    Rule 37(c) Motion for Mandatory Exclusion of Untimely Produced Documents and for Sanctions, ECF No. 308,
 filed Sep. 9, 2024.
 63
    Memorandum Decision and Order Denying Defendant’s Rule 37(c) Motion for Mandatory Exclusion of Untimely
 Produced Documents and for Sanctions and Permitting Limited Rule 30(b)(6) Deposition of OLPC (“Order”), ECF
 No. 355, filed Nov. 27, 2024.
 64
    Id. at 18.

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 billing records was untimely and deprived Ephraim of the opportunity to conduct related

 discovery. 65

         The magistrate judge first noted that several of the invoices OLPC relies on “were

 available to OLPC months or years before the close of fact discovery,” yet OLPC did not

 produce these records until the end of fact discovery. 66 The order reasons that “OLPC does not

 explain why it did not produce any of these records until the close of fact discovery (or three

 days prior),” showing that the billing records were “untimely disclosed, without substantial

 justification.” 67

         The magistrate judge then found that the untimely disclosure “deprived Ephraim of the

 ability to conduct follow-up fact discovery related to these records.” 68 The magistrate judge

 rejected OLPC’s argument that its February 2023 Rule 30(b)(6) deposition cured any prejudice,

 as OLPC’s testimony on its “general theory of damages” did not justify its failure to disclose the

 information in the billing records to Ephraim before the close of fact discovery. 69 However, the

 magistrate judge did not exclude the billing records, finding that any “harm resulting from the

 untimely disclosure can be cured at this stage by reopening discovery to allow a continued Rule

 30(b)(6) deposition of OLPC regarding the billing records and damages claims.” 70

         Thomas was deposed as OLPC’s representative on December 19, 2024 (the “2024 OLPC

 Deposition”). 71 In this deposition, Thomas stated that OLPC had orally agreed to reimburse its



 65
    Id. at 26.
 66
    Id. at 27.
 67
    Id.
 68
    Id.
 69
    Id. at 28.
 70
    Id. at 30.
 71
    Thomas Olson Deposition (“2024 OLPC Dep.”), ECF No. 373-5, filed Jan. 31, 2025.

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clients (including himself, a couple of his sons, and one of his trust’s trustees) for legal fees

incurred in cases where the Confidential Documents were used. 72 Thomas first stated that OLPC

has agreed to reimburse the costs incurred in the Lemons Litigation. 73 He stated that OLPC

agreed to indemnify the Waterton Land Trust, which in turn has agreed to indemnify Bruce

Lemons. 74 This agreement was made in a phone call between Thomas and his son Hyrum, who

Thomas believes is the trustee of the Waterton Land Trust, in October 2022. 75 Thomas also stated

that the Waterton Land Trust is a client of OLPC, but that he does not have a written engagement

agreement with the trust. 76

        Thomas then stated that OLPC had agreed to pay the attorney fees in the Waterton Land

Trust matter because his sons Hyrum and Joshua are clients of OLPC. He stated that Hyrum is a

client because he is a director of the Waterton Land Trust, and Joshua is a client of OLPC

because OLPC had filed his tax returns and given him tax advice. 77 OLPC orally agreed to

indemnify the parties in the Olson v. Olson matter sometime in 2023; there is no written

indemnification agreement. 78

        As for the damages claimed in the Mareva Injunction, Thomas testified that he is himself

a client of OLPC, the law firm that he owns. While being questioned as OLPC’s representative,

Thomas stated that:

        Q: So what is OLPC’s responsibility to reimburse you for your legal fees?


72
   Id. at 14:6–12 (agreement to indemnify the Waterton Trust is not memorialized in writing); 41:24–25, 42:1–8
(OLPC agreed to indemnify Hyrum Olson).
73
   Id. at 11:12–13.
74
   Id. at 11:12–20.
75
   Id. at 13:1–18; 14:3–11; 15:8–17.
76
   Id. at 16:12–20.
77
   Id. at 42:3–8; 43:3–7.
78
   Id. at 42:3–8; 43:3–7; 43:22–25; 46:8–13.

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        A: Based on the actions against all parties, all parties were clients of OLPC, and
        the documents were stolen by a former employee of OLPC.
        Q: Are you a client of OLPC?
        A: I am.
        Q: Does OLPC have any agreement with you to reimburse you for these legal
        fees?
        A: Yes, it’s supposed to reimburse me for the legal fees.
        Q: Is that written down somewhere?
        A: No.
        Q: Okay. Who negotiated that agreement between OLPC and you to pay you back
        for your legal fees?
        A: That was me.
        Q: You and yourself?
        A: OLPC. I’m the manager of OLPC, and so I also represent myself, as well as
        the Waterton Land Trust and the Olson Estate Trust. 79

In short, Thomas’s view is that he is both the owner of and a client of OLPC, and he verbally

negotiated a contract with himself for OLPC to indemnify himself for his attorney fees incurred

in the Mareva Injunction case.

        In its opposition to Ephraim’s motion for summary judgment, filed on March 21, 2025,

OLPC asserts for the first time that its damages are “the costs incurred by OLPCCIL to

investigate the theft of its Confidential Documents and the fees OLPC’s clients have incurred in

defending themselves in which the Confidential Documents have been used.” 80 OLPC states that

the Confidential Documents were stored on servers owned by OLPCCIL. 81 OLPC alleges that

after it discovered that the Confidential Documents had been misappropriated, OLPCCIL hired

two law firms based in the United States and Thailand to “respond to the theft and assess the

damage that had been done.” 82 Thomas asserts that the investigative and response costs


79
   Id. at 68:5–25.
80
   OL Private Counsel, LLC’s Opposition to Motion for Summary Judgment Dismissing Plaintiff’s Complaint (“Pl.
MSJ Opp.”) 2, ECF No. 397, filed Mar. 21, 2025.
81
   Pl. MSJ Opp. 8; Services Agreement 3–7, ECF No. 414-1, filed May 2, 2025 (service agreement showing Thomas
H. Olson as signatory for OLPCCIL); 2023 OLPC Dep. 10:5–7 (Thomas states that he is director of OLPCCIL).
82
   Pl. MSJ Opp. 8.

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“amounted to $18,375 USD” by November 2020. 83 OLPC states that OLPCCIL “has now

required payment from OLPC for those costs.” 84 OLPC also claims that it incurred investigation

costs in the Mareva Injunction case, where Thomas’s attorneys questioned Carolyn about the

confidential documents. 85 Thomas estimates that this questioning cost “at least $6,300 USD.” 86

                                              DISCUSSION

          Before addressing the parties’ motions for summary judgment, the court considers what

evidence the parties may rely on at this stage. The parties make several objections to the

evidence used by their opponent. 87 Ephraim has also moved to exclude OLPC’s evidence related

to its attorney fee damages and argues that any damages related to OLPC’s investigation into

how the Confidential Documents were leaked should not be considered. The court considers the

parties’ evidentiary objections, then evaluates the categories of damages.

     I.      Evidentiary Objections

          Under Federal Rule of Civil Procedure 56, a party may show “that the materials cited do

not establish the absence or presence of a genuine dispute, or that an adverse party cannot

produce admissible evidence to support the fact.” 88 “At the summary judgment stage, the parties

need not submit evidence in a form admissible at trial; however, the content or the substance of



83
   Declaration of Thomas Olson in Support of Opposition to Motion for Summary Judgment (“Thomas Decl.”) 4,
ECF No. 397-2, filed Mar. 21, 2025.
84
   Pl. MSJ Opp. 8.
85
   Deposition of Carolyn Olson 124:12–16; 125:7–12, 26–25; 126:1–2, ECF No. 372-9, filed Jan. 31, 2025.
86
   Thomas Decl. ¶ 17.
87
   See Pl. MSJ Opp. 3; Appendix I: OLPC’s Opposition to Ephraim’s Statement of Undisputed Facts, ECF No. 397-
1, filed Mar. 21, 2025; Reply Memorandum in Support of Motion for Summary Judgment (“Def. MSJ Reply”) 2,
ECF No. 412, filed May 2, 2025; Defendant Ephraim Olson’s Opposition to Plaintiff’s Motion for Partial Summary
Judgment (“Def. MSJ Opp.”) 3, ECF No. 393, filed Mar. 21, 2025; Reply in Support of OL Private Counsel, LLC’s
Motion for Partial Summary Judgment (“Pl. MSJ Reply”) 3, ECF No. 415, filed May 2, 2025; OL Private Counsel
LLC’s Response to Objections to Evidence, ECF No. 419, filed May 9, 2025.
88
   Fed. R. Civ. P. 56 (c)(1)(B).

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the evidence must be admissible.” 89 “The burden is on the proponent to show that the material is

admissible as presented or to explain the admissible form that is anticipated.” 90

         i. Ephraim’s Objections

         Ephraim first objects to portions of Thomas’s declaration that was attached to OLPC’s

motion for summary judgment. 91 He argues that the declaration was not made based on

Thomas’s personal knowledge, as Thomas did not have personal knowledge of when Ephraim’s

access to the OLPCCIL server was revoked. 92 He also argues that Thomas’s statements about

OLPC’s damages in the declaration should not be considered because they are not supported by

other documents, contradict Thomas’s previous statements, and are speculative. 93

         “[A]lthough evidence presented in the form of an affidavit at summary judgment can be

‘converted’ in form into live testimony at trial, the content or substance of the affidavit must be

otherwise admissible.” 94 If summary judgment evidence is presented in the form of an affidavit,

the Rules of Civil Procedure require that “the evidence must be based on personal knowledge.” 95

         In his declaration accompanying OLPC’s motion for summary judgment, Thomas states

that “Ephraim’s access to OLPC’s documents was revoked by the end of 2019.” 96 Ephraim

argues that this statement was made without personal knowledge, as Thomas’s statements made

during depositions as OLPC’s 30(b)(6) representative show that Thomas did not know if



89
   Bryant v. Farmers Ins. Exch., 432 F.3d 1114, 1122 (10th Cir. 2005) (citing Hardy v. S.F. Phosphates Ltd., 185 F.3d
1076, 1082 n.5 (10th Cir.1999)).
90
   Fed. R. Civ. P. 56(c)(2) advisory committee’s note to the 2010 amendment.
91
   Def. MSJ Reply 2–8; Def, MSJ Opp. 5–7.
92
   Def. MSJ Opp. 7.
93
   Def. MSJ Reply 2–5.
94
   Johnson v. Weld Cnty., Colo., 594 F.3d 1202, 1210 (10th Cir. 2010).
95
   Bryant., 432 F.3d at 1122.
96
   Thomas Decl. ¶ 12.

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Ephraim still had access to the OLPCCIL server after September 1, 2019. 97 OLPC responds that

Thomas does have personal knowledge about when Ephraim’s employment ended. 98

         Thomas’s declaration does not state that Ephraim’s employment or access to the

OLPCCIL server ended on September 1, 2019—it states that Ephraim’s access to OLPC’s

documents had terminated “by the end of 2019.” 99 Ephraim offers no argument as to why

Thomas would not know that Ephraim’s access had been terminated by the end of that year.

Thomas’s failure to recall the exact date Ephraim’s employment ended in previous depositions

does not show that he does not have knowledge about the statements in his declaration.

Accordingly, Ephraim’s objection to Thomas’s statement about when Ephraim’s access to

OLPCCIL’s server was revoked is overruled.

         Ephraim’s argument that the court should not consider statements in Thomas’s

declaration about damages also fails. Ephraim does not argue that Thomas does not have

personal knowledge about these statements or offer another basis under which these statements

should be excluded. 100 Ephraim’s arguments about the lack of supporting documents, possible

contradictions in the record, and Thomas’s speculation as to damages go to the weight a fact

finder might assign to Thomas’s statements, not the declaration’s admissibility at this stage in the

proceedings. Accordingly, Ephraim’s objection to the information in Thomas’s declaration is

overruled.




97
   Def. MSJ Reply 7.
98
   Pl. MSJ Reply 8.
99
   Thomas Decl. ¶ 12.
100
    Markham v. Nat’l States Ins. Co., 122 F. App’x 392, 398 (10th Cir. 2004) (citing Fed.R.Evid. 103(a)(1)) (“A valid
objection to the admission of evidence must state the specific ground upon which it is based, unless the specific
ground is apparent from the context.”).

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        Next, Ephraim argues that OLPC relies on hearsay statements from Joshua, Hyrum, and

Tim.101 Ephraim argues that Thomas’s statement that Ephraim’s employment with OLPC was

over by the end of 2019 is based on out-of-court statements by Joshua and Hyrum. 102 He objects

to OLPC’s statement that “Per standard policies and practices at OLPC, Ephraim’s access to

OLPC’s documents was revoked when his employment terminated. After that OLPC did not give

Ephraim permission to access its confidential information.” 103 This statement does not rely on

any information from Joshua or Hyrum; it references Thomas’s declaration. 104 The information

Ephraim alleges came from Joshua and Hyrum relates only to the specific date of September 1,

2019. Ephraim does not explain how Thomas’s own knowledge that Ephraim’s employment had

ended by the end of 2019 is hearsay. Accordingly, his objection is overruled.

        Finally, Ephraim’s objection that OLPC relies on hearsay statements from Tim also fails.

He argues that OLPC has relied on Tim’s declaration, which it contends is inadmissible

hearsay. 105 This argument is unavailing: at summary judgment, admissibility challenges turn on

substance, not form. In any event, OLPC does not rely upon any hearsay statements by Tim. It

references the messages between Tim and Ephraim where Tim sent the Confidential Documents,

but does not rely on Tim’s declaration itself. 106 Ephraim offers no argument about why the

messages are inadmissible. Accordingly, his objection is overruled.


101
    Def. MSJ Opp. 4.
102
    Def. MSJ Reply 8.
103
    Id. at 8 (objecting to ¶ 9 of the Additional Material Facts in OLPC’s opposition); Pl. MSJ Opp. 6.
104
    Pl. MSJ Opp. 6 (citing Thomas Decl. ¶ 12).
105
    Id. at 8–10.
106
    Pl. MSJ Opp. Additional Material Fact ¶ 10 (stating when Tim’s employment ended based on email from Tim)
¶ 11 (stating that Ephraim knew Tim had resigned based on Facebook messages, Ephraim’s deposition, and
Telegram messages); ¶ 12 (stating that Ephraim requested for Tim to send him Confidential documents based on
messages between Tim and Ephraim); ¶ 13 (stating that Tim had found a way to access the Confidential Documents,
and Ephraim encouraged him to do so, based on messages between Tim and Ephraim); ¶ 15 (stating that Tim
followed Ephraim’s direction to send Confidential Documents based on Ephraim’s deposition, messages between

                                                                                                            15
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          ii. OLPC’s Objections

          In its opposition to Ephraim’s motion for summary judgment, OLPC objects to two facts

offered by Ephraim. First, OLPC objects to Ephraim’s statement that Bruce Lemons is a trustee

of the Waterton Land Trust because that fact is not supported. 107 Next, it objects to Ephraim’s

statement that OLPC paid for the Foley Lardner invoices “to the extent Ephraim offers a legal

conclusion and argument regarding the legal bases underlying OLPC’s damages claims.” 108

          As explained above, at “the summary judgment stage, the only appropriate basis on

which to raise an evidentiary objection is that a fact cannot be presented in a form that would be

admissible in evidence.” 109 OLPC has not argued that either contested statement is not

admissible. Accordingly, its objections are overruled.

          In sum, all of the objections to the evidence made by both parties are overruled. The court

will not exclude this evidence from consideration at this stage. With this in mind, the court turns

to Ephraim’s challenges to OLPC’s damages evidence.

    II.      Damages Evidence

          OLPC asserts two categories of damages. First, it claims it has been damaged because it

has agreed to indemnify its clients for their legal expenses in cases where the Confidential

Documents have been used (the “Litigation Damages”). 110 Second, it claims that it has been



Tim and Ephraim); ¶ 30 (stating that Ephraim, Carolyn, and Naomi did not have access to the Confidential
Document before Tim shared them, relying on messages between Tim and Ephraim, Carolyn affidavit, and previous
questioning of Carolyn).
107
    Appendix I: OLPC’s Opposition to Ephraim’s Statement of Undisputed Facts ¶ 37, ECF No. 397-1, filed Mar. 21,
2025.
108
    Id. at ¶ 38.
109
    Juliano v. Engel, No. 2:23-CV-351-TS-CMR, 2025 WL 315880, at *2 (D. Utah Jan. 28, 2025) (quoting United
States v. RaPower-3, LLC, No. 2:15-CV-00828-DN, 2020 WL 5531563, at *15 (D. Utah Sept. 15, 2020) (cleaned
up).
110
    Pl. MSJ Opp. 2.

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damaged because it has to repay OLPCCIL for the costs it incurred investigating how the

Confidential Documents were leaked (the “Investigation Damages”). 111 Ephraim argues that both

categories of damages should be excluded due to OLPC’s alleged violations of the Federal Rules

of Civil Procedure. 112

        Rule 26 requires parties to provide “a computation of each category of damages claimed

by the disclosing party” in their initial disclosures. 113 Parties must “supplement or correct” their

disclosures “in a timely manner if the party learns that in some material respect the disclosure or

response is incomplete or incorrect, and if the additional or corrective information has not

otherwise been made known to the other parties during the discovery process or in writing.” 114

        Rule 37 then “addresses a party’s failure to disclose or supplement initial disclosures,

providing that ‘[i]f a party fails to provide information or identify a witness as required by Rule

26(a) or (e), the party is not allowed to use that information or witness to supply evidence on a

motion, at a hearing, or at a trial, unless the failure was substantially justified or harmless.’” 115

To determine if a party’s failure to update their initial disclosures is substantially justified or

harmless, courts consider four factors: “(1) the prejudice or surprise to the party against whom

the [information] is offered; (2) the ability of the party to cure the prejudice; (3) the extent to

which introducing such [information] would disrupt the trial; and (4) the moving party’s bad

faith or willfulness.” 116


111
    Id.
112
    Renewed Rule 37(c) Motion for Mandatory Exclusion of Untimely Produced Damages Documents and for
Sanctions (“Ex. Mot.”), ECF No. 373, filed Jan. 31, 2025.; Def. MSJ Reply 2.
113
    Fed. R. Civ. P. 26 (a)(1)(A)(iii).
114
    Fed. R. Civ. P. 26 (e).
115
    HCG Platinum, LLC v. Preferred Prod. Placement Corp., 873 F.3d 1191, 1200 (10th Cir. 2017) (quoting Fed. R.
Civ. P. 37 (c)(1).
116
    Id. (quoting Woodworker’s Supply, Inc. v. Principal Mut. Life Ins. Co., 170 F.3d 985, 993 (10th Cir. 1999)).

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        i. Litigation Damages

        Ephraim has moved for the court to exclude OLPC’s Litigation Damages (the “Exclusion

Motion”). 117 He argues that the 2024 OLPC Deposition did not cure the prejudice caused by

OLPC’s untimely damages disclosure, so the Litigation Damages should be excluded. 118

Ephraim contends that the deposition demonstrated that “there is even more fact discovery

Ephraim would require to fully defend against OLPC’s claims,” including whether OLPC

actually paid any of the invoices for the third-party litigation and what the process for these

payments was. 119

        OLPC first argues that the court should evaluate the Exclusion Motion as a motion to

reconsider the magistrate judge’s Exclusion Order. 120 It argues that Ephraim is asking the court to

reevaluate the magistrate judge’s determination that the harm caused by OLPC’s late disclosure

of the billing records could be mitigated by allowing for another deposition of OLPC. 121

Ephraim responds that he is not seeking reconsideration, but is asking the court to exclude the

Litigation Damages based on new information that became apparent after the additional

deposition. 122

        Ephraim’s Exclusion Motion is not a motion for reconsideration. Contrary to OLPC’s

assertions, the basis for the renewed motion was not available during previous briefing. Ephraim

argues that the 2024 OLPC Deposition, taken pursuant to the magistrate judges’ order,


117
    Ex. Mot. 2.
118
    Id. at 8.
119
    Id. at 9–10.
120
    Plaintiff’s Opposition to Ephraim Olson’s Renewed Rule 37(c) Motion for Mandatory Exclusion of Untimely
Produced Damages Documents and for Sanctions (“Ex. Mot. Opp.”) 10, ECF No. 388, filed Feb. 28, 2025.
121
    Id. at 11.
122
    Reply in Support of Renewed Rule 37(c) Motion for Mandatory Exclusion of Untimely Produced Damages
Documents and for Sanctions 2 (“Ex. Mot. Reply”), ECF No. 403, filed April 4, 2025.

                                                                                                              18
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establishes that the Litigation Damages should be excluded. This new basis for exclusion was not

available to Ephraim before the magistrate judge’s order. 123

         The question, then, is whether OLPC’s 2024 deposition establishes that the Litigation

Damages should be excluded. Ephraim contends that the deposition did not cure the prejudice

caused by OLPC’s late disclosure, but instead revealed how much more information he needs to

adequately defend against OLPC’s claims. 124 According to Ephraim, this information includes

more detailed information on the invoices related to the Mareva Injunction and Waterton Land

Trust Litigation, bank statements and billing records from OLPC, and other documentation

showing that OLPC has paid invoices for litigation that arise from or are related to the

Confidential Documents. 125

         The additional documents Ephraim claims he needs to adequately defend himself have

not been produced. 126 But it is not these documents Ephraim seeks to exclude—he seeks to

exclude the evidence of damages OLPC has already provided to him. Essentially, he argues that

the extended deposition of OLPC was insufficient to cure the prejudice caused by its late

disclosure because it revealed that more information was needed. However, the cure for this lack

of information is not to exclude OLPC’s damages evidence altogether; instead, to cure this

prejudice, Ephraim would need to move for extended discovery, which he has not done.




123
    OLPC also argues that Ephraim has waived the right to bring his Exclusion Motion. See Ex. Mot. Opp. 14. Like
with its reconsideration argument, OLPC fails to account for the fact that the Exclusion Motion is not a challenge to
the Exclusion Order. There is no clear support for OLPC’s assertion that Ephraim has waived his arguments based
on the 2024 OLPC Deposition. Accordingly, the court does not consider any portion of Ephraim’s Exclusion Motion
waived.
124
    Ex. Mot. 10–11.
125
    Ex. Mot. Reply 2.
126
    Ex. Mot Opp. 19 (stating that OLPC will produce documents if requested); Ex. Mot. Reply 2 (stating that OLPC
has not produced these documents).

                                                                                                                  19
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           Ephraim does not adequately explain why OLPC’s failure to produce additional

documents should result in the total exclusion of the Litigation Damages evidence OLPC has

produced so far. OLPC’s failure to timely disclose its Litigation Damages was prejudicial, and

the extended deposition may not have provided Ephraim with all the information he now claims

he needs. But OLPC’s failure to provide additional information after the 2024 deposition does

not establish that the Litigation Damages should be excluded in their entirety. As the magistrate

judge noted in the previous order, Ephraim’s decision to seek exclusion of the Litigation

Damages, instead of moving for additional discovery to obtain the documents he claims he

needs, “suggests a calculated effort to justify a request for sanctions by stockpiling a list of

grievances, rather than an effort to resolve discovery and disclosure issues as they arose.” 127

           Ephraim has not shown that OLPC’s failure to produce additional documents related to

its damages should result in the total exclusion of its Litigation Damages. Therefore, his motion

to exclude is denied, and the court declines to award Ephraim attorney fees based on his

Exclusion Motion.

           ii. Investigation Damages

           Next, Ephraim argues that OLPC’s Investigation Damages should be excluded under

Rules 26 and 37. 128 The Investigation Damages include charges for two investigations into the

leaking of the Confidential Documents. First, OLPC alleges that it was damaged because

OLPCCIL paid for investigations into who had accessed the OLPCCIL servers and which




127
      Order 7.
128
      Def. MSJ Reply 13.

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documents were taken. 129 OLPC claims that it “has an indemnity obligation for those costs” 130

for which it has been billed. 131 Second, OLPC claims it was damaged because law firm Peacock

Linder, while representing Thomas in his divorce, asked Carolyn questions about how she

obtained the Confidential Documents. 132 OLPC claims that these costs amounted to “just over

$18,000” during October and November 2020. 133

        OLPC did not update its disclosures with a calculation of these Investigation Damages.

Accordingly, it must show that its failure to provide a calculation for these damages was

substantially justified or harmless. OLPC has failed to make this showing for the Investigation

Damages.

        OLPC first offered a calculation of the Investigation Damages in its opposition to

Ephraim’s motion for summary judgment. 134 Although the Investigation Damages were incurred

by OLPCCIL in October and November 2020, OLPC did not disclose these damages until March

2025. 135 Moreover, OLPC’s own damages expert does not mention any investigation into the

Confidential Documents or related expenses. 136




129
    Pl. MSJ Opp. 31.
130
    Id. at 24.
131
    Id. at 41. OLPC does not provide a date for when OLPCCIL billed it for these costs. In his declaration, Thomas
states that “OLPCCIL has now required payment from OLPC” without providing any dates. See Thomas Decl. ¶ 16.
132
    Id. at 30–31.
133
    Id. at 8. It is unclear what the total amount of Investigation Damages OLPC is pursuing is. In his declaration,
Thomas claims that the “investigative and response costs” to OLPCCIL, which has “now required payment from
OLPC” is $18,375. See Thomas Decl. 4. Thomas then estimates that Peacock Linder’s questioning of Carolyn about
how she obtained the Confidential Documents cost “at least $6,300.” Id. at ¶ 17. It seems that Thomas believes this
amount is an investigatory cost in addition to the $18,375 charge from OLPCCIL. However, in its briefing, OLPC
does not provide a clear calculation of its Investigation Damages.
134
    Pl. MSJ Opp. 31.
135
    Id.
136
    Hoffman Rep. 6 (calculating damages only based on Foley, BLG, and Peacock Linder Invoices).

                                                                                                                21
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        Adding this new category of damages in its opposition to Ephraim’s motion for summary

judgment is prejudicial. OLPC first offered its calculation of Investigation Damages after the

close of fact discovery, after its own expert had calculated its damages, and after summary

judgment briefing had started. It gave Ephraim no opportunity to question OLPC about these

damages or to otherwise investigate their veracity. Therefore, the Investigation Damages are

prejudicial to Ephraim. 137

        OLPC argues that “any claimed discovery misstep is harmless” because it discussed

OLPCCIL’s investigatory costs in prior depositions. 138 In his 2023 30(b)(6) deposition, Thomas

stated that OLPCCIL had incurred damages, and OLPC “will be responsible if it gets a bill for

those services.” 139 OLPC essentially repeats an argument already considered and rejected by the

magistrate judge, who found that OLPC had not shown that previous deposition testimony “was

an adequate substitute for producing the billing records before discovery closed.” 140

        OLPC still does not adequately explain how oblique references to some future bill from

OLPCCIL during a deposition would put Ephraim on notice of OLPC’s claim for $18,000 in

Investigation Damages. Moreover, OLPC does not explain why its disclosure of these damages

happened so long after the investigation. It offers no reason why it could not provide a

calculation for the Investigation Damages for more than four years after the investigation

happened. Therefore, OLPC’s failure to provide a calculation of its investigation damages was

not harmless.


137
    Sonrisa Holding, LLC v. Circle K Stores, Inc., 835 F. App’x 334, 344 (10th Cir. 2020) (adding a new category of
damages on the last day of discovery “would have significantly prejudiced Defendant” as it deprived defendant of
the opportunity to question plaintiffs about the costs or ability to retain an expert).
138
    Pl. MSJ Opp. 18.
139
    Id. at 8–9.
140
    Order 28.

                                                                                                                 22
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        OLPC also argues that its failure to provide a calculation of Investigation Damages is

harmless because Ephraim has OLPC’s billing invoices and damages expert report. But the

billing invoices do not show what amount is attributable to the Investigation Damages, and

OLPC’s expert does not mention this category of damages. Ephraim having documents related to

the Litigation Damages does not show that OLPC was justified in withholding a calculation of its

Investigation Damages until March 2025.

        As for the remaining Rule 37 factors, Ephraim cannot now cure this prejudice, as fact

discovery has been closed for over a year. 141 It is true that the Investigation Damages would not

necessarily disrupt any potential trial, as no dates have been set, and Ephraim has not alleged that

OLPC’s failure to disclose the Investigation Damages was done willfully or in bad faith.

However, the balance of these factors favors exclusion. OLPC did not provide a calculation of its

Investigation Damages until it responded to Ephraim’s motion for summary judgment. This

failure prejudiced Ephraim and cannot be cured at this stage. Additionally, an opposition to a

motion for summary judgment is not the proper vehicle for damages disclosures. Accordingly,

the Investigation Damages are excluded.

                                SUMMARY JUDGMENT STANDARD

        “A party is entitled to summary judgment if, viewing the evidence in the light most

favorable to the non-moving party, there is no genuine issue as to any material fact and the

movant is entitled to judgment as a matter of law.” 142 “A factual issue is genuine ‘if the evidence




141
    See Park Cityz Realty, LLC v. Archos Cap., LLC, No. 2:20-CV-00522-JCB, 2021 WL 4991717, at *10 (D. Utah
Oct. 27, 2021) (party “cannot now cure the prejudice because discovery has long passed.”).
142
    Affliction Holdings, LLC v. Utah Vap or Smoke, LLC, 935 F.3d 1112, 1114 (10th Cir. 2019) (citing Hobbs ex rel.
Hobbs v. Zenderman, 579 F.3d 1171, 1179 (10th Cir. 2009)).

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is such that a reasonable jury could return a verdict for the nonmoving party.’” 143 “The

nonmoving party is entitled to all reasonable inferences from the record; but if the nonmovant

bears the burden of persuasion on a claim at trial, summary judgment may be warranted if the

movant points out a lack of evidence to support an essential element of that claim and the

nonmovant cannot identify specific facts that would create a genuine issue.” 144

         “Cross-motions for summary judgment are to be treated separately; the denial of one does

not require the grant of another.” 145 However, if “the granting of one motion requires the denial

of the other, the Court need not delve into the other motion separately.” 146

III.     Ephraim’s Motion for Summary Judgment

         Ephraim moves for summary judgment on each of OLPC’s claims, arguing that it has

failed to show that any of his actions resulted in damage to OLPC. 147 OLPC disagrees, arguing

that summary judgment on damages is not appropriate. 148 It claims that its damages are the costs

it has incurred due to indemnifying third parties in the Mareva Injunction, the Lemons Litigation,

and the Waterton Trust Litigation. The parties do not dispute that each of OLPC’s claims require

a showing of damages. 149 Ephraim argues that Utah law does not provide a basis for OLPC’s


143
    Water Pik, Inc. v. Med-Systems, Inc., 726 F.3d 1136, 1143 (10th Cir. 2014) (quoting Sally Beauty Co., 304 F.3d
964, 972 (10th Cir. 2002)).
144
    Id. at 1143–44.
145
    Buell Cabinet Co. v. Sudduth, 608 F.2d 431, 433 (10th Cir. 1979) (citing SEC v. American Commodity Exchange,
Inc., 546 F.2d 1361, 1365 (10th Cir. 1976)).
146
    Turner v. XL Specialty Ins. Co., 469 F. Supp. 3d 1197, 1202 (W.D. Okla. 2020) (citing Arroyo v. Geico Cas. Co.,
No. 2:16 CV 511, 2019 WL 415252, at *2 (N.D. Ind. Jan. 29, 2019)).
147
    Def. MSJ 11.
148
    Pl. MSJ Opp. 22, 30.
149
    Def. MSJ 3; Pl. MSJ Opp. 37; see also Sunridge Dev. Corp. v. RB & G Eng’g, Inc., 2013 UT App 146, ¶ 13, 305
P.3d 171, 176 (quoting Stevens-Henager Coll. v. Eagle Gate Coll., Provo Coll., Jana Miller, 2011 UT App 37, ¶ 14,
248 P.3d 1025, 1029) (“To succeed on a breach of contract claim, ‘[a] plaintiff is required to prove both the fact of
damages and the amount of damages.’”); Sweet v. Corp. of Presiding Bishop of the Church of Jesus Christ of Latter-
Day Saints, No. 2:16-CV-225, 2019 WL 1382283, at *2 (D. Utah Mar. 27, 2019) (quoting Eldridge v. Johndrow,
2015 UT 21, ¶ 13, 345 P.3d 553, 556) (“To succeed on a claim of intentional interference with economic relations, a

                                                                                                                  24
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Litigation Damages. 150 OLPC responds that its damages are recoverable. It also argues that it

may still pursue injunctive relief. 151 The court first considers the damages arguments, then turns

to OLPC’s request for injunctive relief.

         i. Damages

         Under Utah law, attorney fees generally cannot be recovered “unless provided for by

statute or contract.” 152 “Recovery of attorney fees as consequential damages generally applies in

just two situations. The first is where the litigation is based on an insurance contract. . . Second,

‘[a] well-established exception to this general rule allows recovery of attorney fees as

consequential damages, but only in the limited situation where the defendant’s [actions]

foreseeably caused the plaintiff to incur attorney fees through litigation with a third party.”

“[W]hen the natural consequences of one’s negligence is another’s involvement in a dispute with

a third party, attorney fees reasonably incurred in resolving the dispute are recoverable from the

negligent party as an element of damages.” 153 This is not an insurance contract dispute;

therefore, OLPC may only recover attorney fees under the third-party litigation exception.




‘plaintiff must prove (1) that the defendant intentionally interfered with the plaintiff's existing or potential economic
relations, (2) for an improper purpose or by improper means, (3) causing injury to the plaintiff.’”); Espenschied
Transp. Corp. v. Fleetwood Servs., Inc., 2018 UT 32, ¶ 14, 422 P.3d 829, 833 (breach of fiduciary duty requires a
showing of damages); 18 U.S.C. § 1030 (4) (CFAA civil cause of action requires loss aggregating in at least $5,000
of value).
150
    In evaluating OLPC’s state law claims, the court applies Utah law to matters of substantive law. See In re ZAGG
Inc. Shareholder Derivative Action, 826 F.3d 1222, 1228 (10th Cir. 2016) (quoting Timmerman v. Modern Indus.
Inc., 960 F.2d 692, 696 (7th Cir. 1992)) (“federal courts exercising pendent or diversity jurisdiction must apply state
law as to matters of substantive law”).
151
    Def. MSJ Opp. 50.
152
    South Sanpitch Co. v. Pack, 765 P.2d 1279, 1282 (Utah Ct. App. 1988) (citing B & R Supply Co. v. Bringhurst, 28
Utah 2d 442, 444, 503 P.2d 1216, 1217 (1972)) (also citing Blake v. Blake, 17 Utah 2d 369, 371, 412 P.2d 454, 456
(1966)).
153
    Id.

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         The parties first disagree about how to categorize the Litigation Damages. OLPC claims

that its Litigation Damages “are comprised of the indemnification payments OLPC is obligated

to make to its clients based upon the adverse use of their confidential information flowing from

OLPC’s former employee’s misconduct.” 154 It argues that these damages are indemnification

costs, not third-party litigation fees. 155 Ephraim responds that it does not matter whether the

Litigation Damages are labeled as third-party expenses or indemnification costs, as OLPC has

not shown it can recover these damages either way. 156

         Although OLPC seeks to categorize its Litigation Damages as indemnification costs, not

third-party litigation fees, it has not shown that a different legal standard applies. OLPC

references a number of cases discussing indemnity actions. None of these cases stand for the

proposition that an indemnitor such as OLPC may claim as damages its actual or anticipated

indemnification payments in litigation between third parties when the third-party litigation

exception does not apply. 157

         OLPC contends that the third-party litigation exception applies in this circumstance

because it has entered into indemnification agreements with the parties in Third-Party Litigation

where the Confidential Documents have been used. 158 Ephraim argues that OLPC’s Litigation




154
    Pl. MSJ Opp. 32.
155
    Id.
156
    Def. MSJ Reply 16.
157
    Pl. MSJ Opp. 33 (citing Russ v. Woodside Homes, Inc., 905 P.2d 901, 904 (Utah Ct. App. 1995) (discussing
indemnity provision between personal injury plaintiff and home builder); Thomas v. Malco Refineries, 214 F.2d 884,
885 (10th Cir. 1954) (discussing indemnity in respondeat superior case); Pavoni v. Nielsen, 2000 UT App 74, ¶ 16,
999 P.2d 595, 598 (discussing indemnity contract between the parties to the case); Davidson Lumber Sales, Inc. v.
Bonneville Inv., Inc., 794 P.2d 11, 19 (Utah 1990) (discussing statute of limitations in indemnity action between two
indemnitors); Perry v. Pioneer Wholesale Supply Co., 681 P.2d 214, 218 (Utah 1984) (stating elements of indemnity
action)).
158
    Pl. MSJ Opp. 34–35.

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Damages do not meet the requirements of the third-party litigation exception because OLPC

itself is not a party to the Third-Party Litigation. 159

         OLPC argues that the Utah Court of Appeals decision in Macris & Associates, Inc. v.

Neways, Inc. 160 establishes it may recover its indemnification costs. 161 There, plaintiff Macris

brought claims against Images, which was owned by Thomas and Leslie Mower, for breach of

contract. Images then sold its assets to Neways (Macris I). 162 Macris then filed suit against

Neways and the Mowers, bringing claims for fraudulent conveyance, successor liability, and

alter ego (Macris II). 163

         Macris ultimately succeeded on its breach of contract claim in Macris I, and Neways paid

the entire judgment. 164 Neways and the Mowers then moved to dismiss Macris II, arguing the

case was moot because the Macris I judgment was paid. 165 Macris argued that the case was not

moot because the attorney fees it incurred in Macris II were recoverable under the third-party

litigation exception. 166 The trial court granted Neways’ motion for summary judgment, reasoning

that the third-party litigation exception did not apply. 167

         The Court of Appeals disagreed, holding that Macris potentially could recover attorney

fees from Neways and the Mowers under the third-party litigation exception if Macris could

show Neways was Images’ successor or alter ego. With that showing, if Images caused Macris to




159
    Pl. MSJ Reply 17.
160
    60 P.3d 1176 (2002).
161
    Pl. MSJ Opp. 35–36.
162
    Macris, 1176 P. 3d at 1177, ¶ 2–3.
163
    Id. at ¶ 3.
164
    Id. at ¶ 4, ¶ 7.
165
    Id. at ¶ 8.
166
    Id.
167
    Id. at ¶ 9.

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incur attorney fees, the third-party litigation exception may apply. 168 In other words, “based on

the way Macris’s complaint is framed, if Macris can establish that Images is the alter ego of

Neways, then the trial court may hold Neways liable for Images’s actions. If Macris can then

establish that Neways is the alter ego of Mowers, then Macris may seek attorney fees from

Mowers.” 169 However, the court noted that the “third-party litigation exception does not support

a direct claim for attorney fees against Mowers and Neways.” 170

         Altogether, Macris stands for the limited proposition that a plaintiff may seek attorney

fees under the third-party litigation exception if the plaintiff is successful in showing the

defendant is a successor corporation or alter ego of the party that caused it to incur attorney fees

in a separate case. 171 OLPC does not allege that Ephraim is the alter ego or successor for any of

the parties in the Third-Party Litigation for which it is seeking attorney fees. Instead, OLPC

claims that “indemnification is like an assignment and successor liability,” so the court should

allow its claims to proceed. 172

         Macris does not support this proposition. OLPC fails to demonstrate that the third-party

exception should apply for at least three reasons. First, OLPC’s argument reverses to which

parties the court’s successor liability analysis applies. In Macris, the court held that the party

seeking attorney fees could recover from a successor or alter ego of the party that initially caused

it harm. Here, OLPC argues that its indemnification agreements are analytically similar to parties


168
    Id. at ¶ 19.
169
    Id. at ¶ 21.
170
    Id. at 1182 n. 12.
171
    Id. at ¶ 20 (“Accordingly, if Macris is successful in its claim that Neways is liable to Macris ‘for all amounts due
or to become due from Images to Macris’ because ‘Neways is the successor corporation to Images,’ then Macris may
seek attorney fees from Neways under the third-party litigation exception.”); ¶ 21 (“If Macris can then establish that
Neways is the alter ego of Mowers, then Macris may seek attorney fees from Mowers.”).
172
    Pl. MSJ Opp. 36.

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assuming successor liability.173 If that were the case, OLPC would be like defendant Neways, the

alleged alter ego of Images, against which third-party litigation damages were sought, not like

plaintiff Macris that could rely on the third-party litigation exception. 174 Macris did not involve a

plaintiff seeking to apply the third-party litigation exception who was a successor or alter ego

corporation—it involved a defendant who was allegedly an alter ego of the defendant in the

separate case that plaintiff Macris sought attorney fees for. Therefore, Macris does not support

OLPC’s argument that it may pursue third-party litigation damages because it, as a plaintiff, has

agreed to indemnify its clients.

         Next, Macris involved very different claims. The court held that the third-party exception

may apply if a plaintiff successfully establishes that the defendant is a successor or an alter ego

of the third-party that harmed the plaintiff. 175 OLPC has not brought similar claims against

Ephraim, so the holding in Macris is simply inapposite.

         Finally, the party seeking to assert the third-party litigation exception in Macris was a

party to both the first breach of contract action and the second successor liability action. Here,

OLPC is not a party to any of the separate actions. Macris simply does not stand for the

proposition that a party may seek attorney fees for a separate case to which it is not a party.

Accordingly, OLPC has not shown that Macris supports its damages theory.




173
    Id. at 35 (arguing that the “doctrine of indemnification is like an assignment and successor liability, in that it
effectively obligates one party to respond for the liabilities of another.”); 36 (stating that its “indemnification
agreements place it in privity with its clients regarding the third-party litigation fees and obligate OLPC to pay those
fees.”).
174
    Macris, 60 P.3d at 1180–81.
175
    Id. at ¶ 20, ¶ 21.

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         Moreover, Utah’s third-party litigation exception allows for an award of attorney fees

“only in limited contexts.” 176 Here, the court applies this limited exception under Utah law and

does not expand it to make new law. 177 OLPC has not referenced any relevant authority holding

that the third-party litigation exception applies where a party seeks indemnification-based

attorney fees from separate litigation to which it is not a party, let alone any authority holding

that a firm may apply the exception to indemnify its owner, some of his children, and one of his

trust’s trustees. 178 OLPC has not shown that, based on these facts, it has a basis to recover

damages.

         OLPC has failed to establish legally-cognizable damages for any of its claims. And

without this essential element, OLPC’s claims fail. Accordingly, Ephraim’s motion for summary

judgment on OLPC’s damages is granted.

         ii. Injunctive Relief

         Ephraim also moves for summary judgment on OLPC’s request for injunctive relief. 179

He argues that OLPC is unlikely to succeed on the merits of its conversion claims and has failed



176
    Gardiner v. York, 2006 UT App 496, ¶ 9, 153 P.3d 791, 794 (quoting Lewiston State Bank v. Greenline Equip.,
L.L.C., 2006 UT App 446, ¶ 21).
177
    Because the third-party litigation exception does not apply, the court need not reach other issues like whether the
family members OLPC says are its clients (for example, Thomas himself and two of his sons) actually are clients
despite the lack of written agreements or whether post hac oral agreements between Thomas and his sons that they
should have their litigation expenses paid by Thomas’s firm are valid indemnification agreements.
178
    See Pl. MSJ Opp. 34–37 (citing Renegade Oil, Inc. v. Progressive Cas. Ins. Co., 2004 UT App 356, ¶ 13, 101 P.3d
383, 387) (insurance contract dispute where insured was party to both actions); (J.R. Simplot v. Chevron Pipeline
Co., 563 F.3d 1102, 1116 (10th Cir. 2009)) (contractual dispute where contracting party was party to both actions);
(citing South Sanpitch Co. v. Pack, 765 P.2d 1279, 1282 (Utah Ct. App. 1988) (applying third-party litigation
exception where plaintiff sought fees it incurred in other litigation); Russ v. Woodside Homes, Inc., 905 P.2d 901,
904 (Utah Ct. App. 1995) (discussing indemnity provision in contract, not third-party litigation exception); Sunridge
Dev. Corp. v. RB & G Eng’g, Inc., 2010 UT 6, ¶ 7, 230 P.3d 1000, 1002 (discussing assignment, not third-party
litigation exception); Thomas v. Malco Refineries, 214 F.2d 884, 886 (10th Cir. 1954) (discussing indemnity
contracts, not third-party exception); Lynch v. MacDonald, 12 Utah 2d 427, 433, 367 P.2d 464, 468 (1962)
(discussing assignment, not third-party exception)).
179
    Def. MSJ 35.

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to establish irreparable harm, so he should be granted summary judgment on any remaining

claims for which OLPC could seek injunctive relief. In its complaint, OLPC requested injunctive

relief based on the alleged conversion of the Confidential Documents, arguing that their use in

the Third-Party Litigation would irreparably harm it. 180 But OLPC also contends the documents

already were used to initiate the Third-Party Litigation; that bell cannot be unrung. Without

citing or analyzing the test for injunctive relief, it now summarily argues that it is “entitled to

injunctive relief” because it “has established causation and damages.” 181

         “The party seeking injunctive relief must show that the injury complained of is of such

imminence that there is a clear and present need for equitable relief to prevent irreparable harm.

It is also well settled that simple economic loss does not, in and of itself, constitute irreparable

harm; such losses are compensable by monetary damages.” 182 “Injury is not irreparable if

compensatory relief would be adequate.” 183

         OLPC offers no argument as to why its alleged harms are irreparable. In fact, it argues the

opposite, stating that its demonstration of damages shows that it should receive injunctive

relief. 184 Indeed, OLPC consistently argues that its injuries can be remedied through

compensatory damages; therefore, its harms cannot be irreparable and OLPC cannot obtain

injunctive relief.


180
    First Amended Complaint 14, ECF No. 365-2, filed Feb. 21, 2025.
181
    OLPC briefly argues that it is “entitled to injunctive relief” as a separate cause of action. See Pl. MSJ Opp. 50.
However, injunctive relief is a remedy, not an independent cause of action. Teague v. Christian, No. 4:18-CV-00052
DN PK, 2019 WL 4686717, at *8 (D. Utah Sept. 25, 2019) (“Injunctive relief is a remedy, not an independent cause
of action. Injunctive relief is available as a remedy only where a party prevails on a separate legal theory.”).
182
    Heideman v. S. Salt Lake City, 348 F.3d 1182, 1189 (10th Cir. 2003) (cleaned up and italics omitted) (quoting
Prairie Band of Potawatomi Indians v. Pierce, 253 F.3d 1234, 1250 (10th Cir. 2001)).
183
    Tri-State Generation & Transmission Ass’n, Inc. v. Shoshone River Power, Inc., 805 F.2d 351, 355 (10th Cir.
1986) (citing Enterprise International, Inc. v. Corporacion Estatal Petrolera Ecuatoriana, 762 F.2d 464, 472–73
(5th Cir. 1985)).
184
    Pl. MSJ Opp. 50.

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         In sum, Ephraim has established that this court cannot grant OLPC any of its requested

relief. OLPC has not advanced a theory under which it may recover its Litigation Damages—

namely, attorneys fees and costs from cases involving others—under Utah law, and OLPC has

not met its burden to show that it may obtain injunctive relief. Accordingly, this court cannot

enter an order that will redress OLPC’s claimed injuries. OLPC has not shown that it can obtain

any remedy for its conversion claim, precluding summary judgment in its favor. 185 As such,

OLPC’s motion for summary judgment must also be denied.

                                                      ORDER

         Ephraim’s motion to exclude is DENIED. 186 His motion for summary judgment is

GRANTED. 187 OLPC’s motion for summary judgment is DENIED. 188



         Signed July 1, 2025.

                                                       BY THE COURT


                                                       ________________________________________
                                                       David Barlow
                                                       United States District Judge




185
    See Mendez Suarez v. Comfort, 117 F. App’x 1, 3 (10th Cir. 2004) (“Because we can provide no relief, we need
not address the merits of the matter.”); Ortiz y Pino v. Oliver, No. 1:24-CV-00240-MIS-JFR, 2025 WL 672884, at *2
(D.N.M. Mar. 3, 2025) (citing BioDiversity Conservation All. v. Bureau of Land Mgmt., 608 F.3d 709, 713 (10th Cir.
2010)) (“If the Court cannot grant injunctive relief, attorneys fees, or costs, it appears that the Court cannot provide
effectual relief, mooting the remaining claim.”).
186
    ECF No. 373.
187
    ECF No. 368.
188
    ECF No. 372.

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